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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    GREENVILLE DIVISION

EMILY GREEN and JASON GREEN,                                                                              PLAINTIFFS
on behalf of a minor child A.G.

V.                                                                                    NO. 4:21-CV-32-DMB-JMV

WINONA MONTGOMERY
CONSOLIDATED SCHOOL DISTRICT                                                                             DEFENDANT


                                                         ORDER

           On May 3, 2021, the plaintiffs filed what appear to be two identical replies in support of

their motion for preliminary injunction. Docs. #23, #26. The plaintiffs submitted five exhibits

with each of the replies. Four of the submitted exhibits (Exhibits 1, 2, 3, and 4 to each reply)

contain the name of A.G., the minor child who is the subject of this litigation. On May 4, 2021,

the plaintiffs filed a third reply, this time with properly redacted exhibits. See Doc. #28. The same

day, the plaintiffs also filed a motion to seal from public access the inadvertently filed unredacted

exhibits.1 Doc. #29

           Upon consideration, and for the reasons stated in this Court’s April 30, 2021, order

regarding a prior motion to seal other documents, the plaintiffs’ motion to seal [29] is GRANTED.

The Clerk of the Court is DIRECTED to restrict from public access [23-1][23-2][23-3][23-4]

(which are Exhibits 1, 2, 3, and 4 to Document 23), and [26-1][26-2][26-3][26-4] (which are

Exhibits 1, 2, 3, and 4 to Document 26).

           SO ORDERED, this 4th day of May, 2021.

                                                                    /s/Debra M. Brown
                                                                    UNITED STATES DISTRICT JUDGE


1
    The motion incorrectly refers to the unredacted exhibits as Exhibits 1, 2, 3, and 5, rather than 1, 2, 3, and 4.
